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                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION

In re:                                           )          Chapter 7
                                                 )
GETCHELL DEVELOPMENT CO.,                        )          Case No. 21-30526
                                                 )
                          Debtor.                )

                   NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         PLEASE TAKE NOTICE that Melanie D. Johnson Raubach of Hamilton Stephens Steele

+ Martin, PLLC hereby enters her appearance as counsel for William H. Southerland, IV and Kelli

P. Southerland in the above-captioned case, creditors and parties in interest in the above-captioned

chapter 7 bankruptcy case.

         Such counsel hereby enters her appearance pursuant to §1109(b) of the Bankruptcy Code

and Rule 9010(b) of the Federal Rules of Bankruptcy Procedure, and such counsel requests,

pursuant to Rules 2002, 9007 and 9010 of the Federal Rules of Bankruptcy Procedure and §1109(b)

of the Bankruptcy Code, that copies of all notices and pleadings given or filed in this case,

including any and all cases associated or related to this case and any and all adversary proceedings

associated or related to this case, be given and served upon the undersigned.

         This Notice of Appearance does not give express or implied consent by the undersigned to

accept service of process of any action commenced under Rule 7001 of the Federal Rules of

Bankruptcy Procedure.


                             [Signature appears on the following page]




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Dated: Charlotte, North Carolina
       September 21, 2021
                                         HAMILTON STEPHENS
                                         STEELE + MARTIN, PLLC

                                          /s/ Melanie D. Johnson Raubach
                                         Melanie D. Johnson Raubach (Bar No. 41929)
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                                         Charlotte, NC 28202
                                         Telephone: (704) 344-1117
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                                         Attorneys for William H. Southerland, IV
                                         and Kelli P. Southerland




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this day, the foregoing Notice of Appearance and Request for Notice

was served by electronic means on those parties registered with the United States Bankruptcy

Court, Western District of North Carolina ECF system to receive notices for this case.



Dated: Charlotte, North Carolina
       September 21, 2021
                                               /s/ Melanie D. Johnson Raubach
                                               Melanie D. Johnson Raubach
HAMILTON STEPHENS
STEELE + MARTIN, PLLC
525 North Tryon Street, Suite 1400
Charlotte, NC 28202




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